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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA                                Cbrt
                          SAVANNAH DIVISION
                                                                       cR41 7Z
UNITED STATES OF AMERICA                     )      INDICTMENT NO.
                                             )
v.                                           )      VIO: 18U.S.C.$ e22(e)(5)
                                             )             Possession of a
                                                           Firearm by a
ENNER GILIBRADO TELLO-LOPEZ                                Person Illegally or
                                                           Unlawfully in the
                                                           United States

                                                           Forfeiture Allegation

THE GRAND JURY CHARGES THAT:

                                 COUNT ONE
  Possessionof a Firearm by a Person IIlegaIIy or Unlawfully in the United States
                                18 U.S.C.$ e22(eX5)

      On or about August 20, 2017, in Effingham County, within the Southern

District of Georgia,Defendant ENNER GILIBRADO TELLO-LOPEZ, then being

an alien illegally and unlawfully in the United States, did knowingly possessin and

affecting commerce,a firearm, that is a Norinco, Model SKS, 7.62 caliber rifle, said

firearm having been shippedin interstate commerce.

      All done in violation of Titie 18, United States Code, Section 922(dG).
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      The allegations contained in Count One ofthis Indictment are hereby realleged

and incorporated by reference for purposes of aileging forfeitures pursuant to Title

18. United States Code, Section 924(d) and Title 28, United States Code, Section

2461(c).


      Upon conviction of the offense [n violation of Title 18, United States Code,

Section 922(dQ) set forth in this In$ictment, the defendant, shall forfeit to the

United States pursuant to Title 18, U+ited States Code,Section924(d)and Title 28,

United States Code, Section 246I(c), ahy firearms and ammunition involved or used

in the commission of the offense.
      Case 4:17-cr-00221-WTM-GRS Document 14 Filed 09/06/17 Page 3 of 3



      A True Bill.


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Brian'T. Raffertv
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Chief, Criminal Division




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*DenotesLeadCounsel
